                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
v.                                                )             No: 3:07-CR-113
                                                  )             (JORDAN/GUYTON)
RON SEIBER,                                       )
                                                  )
                      Defendant.                  )


                               MEMORANDUM AND ORDER

       All pre-trial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This criminal action is before the Court on Defendant Seiber’s Motion to

Withdraw Documents [Doc. 68]. Defendant moves the Court to grant him leave to withdraw all of

Defendant Seiber’s pending motions. The Court finds Defendant Seiber’s motion [Doc. 68] to be

well-taken and the same is hereby GRANTED. Accordingly, Defendant Seiber’s Motion for Bill

of Particulars [Doc. 56] and Motion to Compel [Doc. 59] are hereby DENIED as moot.

       IT IS SO ORDERED.


                                                  ENTER:


                                                       s/ H. Bruce Guyton
                                                  United States Magistrate Judge




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